   Case: 1:19-cv-04565 Document #: 263 Filed: 03/03/20 Page 1 of 1 PageID #:5148




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS


Hangzhou Aoshuang E-Commerce Co., Ltd )
                                      )             Case No: 19 C 4565
v.                                    )
                                      )             Judge Martha M. Pacold
The Partnerships and Unincorporated   )
Associations


                                            ORDER

Plaintiff’s motion to dismiss under Rule 41 [262] is granted. Defendant ouke pipe fittings (Line
120) is dismissed with prejudice.




Dated: March 3, 2020                         /s/ Judge Martha M. Pacold
